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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 JEFFREY CORPORAL,

    Plaintiff,

    v.                                                     Civil Action No.: DKC-20-1193

 LT. J. SMITH,
 NURSE D. SHOWALTER,
 WARDEN WEBER,
 COMMISSIONER HILL,
 SECRETARY R. GREEN,

    Defendants.
                          MEMORANDUM OPINION AND ORDER

         Pending are Plaintiff’s motion for leave to proceed in forma pauperis (ECF No. 9),

Plaintiff’s motion for partial summary judgment (ECF No. 10), and Defendants’ motion for

extension of time (ECF No. 14). On August 10, 2020, this court issued an order that granted

Plaintiff’s motion for leave to proceed in forma pauperis. (ECF No. 8). The current pending

motion will therefore be denied as moot.

         Plaintiff’s motion for partial summary judgment seeks judgment in Plaintiff’s favor as to

the alleged actions taken by Defendant Lt. J. Smith. (ECF No. 10). Lt. Smith was only recently

served and has not yet responded to the complaint, or to the motion.         Until he has had an

opportunity to do so, the motion will not be considered.

         Defendants’ seek an extension of time to and including November 9, 2020, to respond to

the complaint. (ECF No. 14). Having demonstrated good cause in support of the motion, it will

be granted.
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      Accordingly, it is this 21st day of October, 2020, by the United States District Court for the

District of Maryland, hereby ORDERED that:

      1.       Plaintiff’s motion for leave to proceed in forma pauperis (ECF No. 9) IS DENIED

               as moot;

      2.       Plaintiff’s motion for partial summary judgment (ECF No. 10) IS DEFERRED;

      3.       Defendants’ motion for extension of time (ECF No. 14) IS GRANTED to and

               including November 9, 2020; and

      4.       The Clerk IS DIRECTED to mail a copy of this Order to Plaintiff and to transmit

               same to counsel of record.



                                             __________/s/__________________
                                             DEBORAH K. CHASANOW
                                             United States District Judge




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